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Case 1:18-cr-00759-JSR peomentgy] Filed 05/23/19 Page 1 of 10

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UNITED STATES OF AMERICA :  SUPERSEDING INDICTMENT
ve - : S218 Cr. 759 (RMB)

SAVRAJ GATA-AURA, SEALED

a/k/a “Sam Aura,”

Defendant.

Count One
{Conspiracy to Commit Wire Fraud)

The Grand Jury charges:
Background

1. SAVRAJ GATA-AURA, a/k/a “Sam Aura,” the defendant, is a
citizen of the United Kingdom, who has principally resided in the
United States since at least in or about September 2015.

2. Renwick Haddow (“Haddow"”) is a citizen of the United
Kingdom who principally resided in New York, New York from at least
im or about October 2014 through in or about June 2017.

3. In or about November 2008, the Companies Investigation
Branch of the Insolvency Service of the United Kingdom (“CIB”), an
agency responsible for investigating serious corporate abuse in
the United Kingdom (the “U.K."), disqualified Haddow from serving
as a director of any company registered in the U.K. for a period

of eight years, through about November 2016. This disqualification

 

 
Case 1:18-cr-00759-JSR Document 40 Filed 05/23/19 Page 2 of 10

was premised on Haddow’s conduct as a director of a company whose
investors lost all or substantially all of their investments.
As part of Haddow’s disqualification, Haddow consented to a
schedule of unfit conduct that stated, in part and substance, that
Haddow caused or allowed the now-insolvent company to make various
misleading statements about its financial position and prospects.
In or about December 2008, the U.K. government published an online
press release with respect to Haddow’s disqualification, including
the schedule of his unfit conduct.

4. In or about July 2013, the U.K.’s Financial Conduct
Authority (“FCA”) brought a civil action against Haddow and others
for allegediy running various unauthorized collective investment
schemes, including a scheme involving African land ventures, that
raised £16.9 million in funds through, among other things,
misleading statements to investors.

5. In February 2014, the High Court of Justice, Chancery
Division, in the United Kingdom, ruled, in substance, that the
schemes at issue were in fact unauthorized collective investment
schemes. The ruling was publicized in the British press.

6. Tn March 2015, the British Court of Appeal dismissed the
appeals filed by Haddow and others with respect to the Pebruary
2014 ruling. The ruling was publicized online.

7. At all times relevant to this Indictment, Bar Works,

Inc. was a Delaware corporation that was principally owned and

 

 
Case 1:18-cr-00759-JSR Document 40 Filed 05/23/19 Page 3 of 10

controlled by Haddow. Bar Works Inc.'s principal place of business
was in New York, New York. Bar Works Inc. was incorporated on or
about July 24, 2015. On or about July 29, 2015, Haddow bought all
20 million shares of Bar Works Inc. for $2,000.

8. At all times relevant to this Indictment, Haddow
operated as the principal executive of Bar Works Inc. and related
Bar Works entities (collectively, “Bar Works”). Among other
things, Haddow controlled the finances of Bar Works, including
revenue generated by Bar Works’s operations and money raised from
Bar Works investors, and was responsible for the operations and
growth of Bar Works throughout New York and the world.

9. At all times relevant to this Indictment, SAVRAJ GATA-
AURA, a/k/a “Sam Aura,” the defendant, recruited agents to sell
investments in Bar Works and, in exchange, GATA-AURA received
commissions.

10. According to Bar Works offering materials, Bar Works
purported to be a company that adapted former restaurant, bar
premises, and other locations into co-working spaces with
“workspaces” for rent to the public in exchange for a membership
fee.

11. In 2015 and 2016, Haddow opened at least four bank
accounts in Bar Works Inc.’s name, designating Haddow as the sole
authorized signatory on each account through account opening forms

or resolutions. The opening forms for one such account represented
Case 1:18-cr-00759-JSR Document 40 Filed 05/23/19 Page 4 of 10

that Haddow owned 100% of Bar Works Inc.

12. In February 2016, Haddow signed Bar Works Inc.’s annual
Delaware franchise tax report, listing Haddow as president of Bar
Works Inc. and its only stated officer and director.

13. From approximately October 2015 through at least April
2017, Bar Works raised funds from investors, among other ways, by
selling “leases” coupled with “sub-leases” on individual
workspaces in different Bar Works locations, including at least
six locations in New York City.

14, To purchase a lease on a single workspace, investors
paid a purchase price generally ranging from $22,000 to $30,000.
Investors would then generally “sub-lease” their workspaces to
Bar Works.

15. Bar Works typically agreed to pay each investor at least
a designated monthly “rental” fee for the lease’s duration,
generally between 14% and 16% of the investor’s investment,
regardless of whether a paying customer could be obtained for the
investor's workspaces — that is, whether Bar Works received some
or no revenue on the relevant workspaces.

16. From at least about October 2015 through June 2017, Bar
Works raised over $36 million from investors.

17. At least some investors wired money from outside of the
state of New York into a Bar Works bank account in New York, New

York.

 
Case 1:18-cr-00759-JSR Document 40 Filed 05/23/19 Page 5 of 10

18. As of in or about April 2017, Bar Works systematically
stopped making payments to investors.

The Scheme to Defraud Bar Works Investors

 

19, From in or about September 2015 through at least in or
about June 2017, SAVRAJ GATA-AURA, a/k/a “Sam Aura,” the defendant,
solicited, and assisted Haddow in soliciting, investments in Bar
Works leases through the use of material misrepresentations about,
among other things, the management and operations of Bar Works.

20. Bar Works provided potential investors with various
offering documents, the content and dissemination of which Haddow
controlled, with input from SAVRAd GATA-AURA, a/k/a “Sam Aura,”
the defendant.

21. The Bar Works offering materials omitted Haddow’s name
entirely.

22. Instead, various Bar Works offering materials and leases
distributed between at least about September 2015 and January 2017
identified Bar Works’s CEO as “Jonathan Black.”

23. As SAVRAJ GATA-AURA, a/k/a “Sam Aura,” the defendant,
knew, “Jonathan Black” was a fictitious identity adopted by Haddow
to conceal his involvement in Bar Works as its incorporator and
president.

24. The FCA’s civil action against Haddow for operating
unauthorized investment schemes was well publicized as of about

September 2015. As SAVRAJ GATA-AURA, a/k/a “Sam Aura,” the

 
Case 1:18-cr-00759-JSR Document 40 Filed 05/23/19 Page 6 of 10

defendant, and Haddow well knew, knowledge of Haddow's control
over Bar Works would be material to investors in Bar Works.

25. SAVRAJ GATA-AURA, a/k/a “Sam Aura,” the defendant, and
Haddow recruited agents to sell workspace leases in Bar Works and
provided them with offering documents and other information that
concealed Haddow’s control and ownership interests in Bar Works,
and affirmatively misrepresented that the non-existent individual
named “Jonathan Black” was the CEO of Bar Works.

26. From in or about September 2015 through at least in or
about June 2017, SAVRAJ GATA-AURA, a/k/a “Sam Aura,” the defendant,
and companies controlled in whole or in part by GATA-AURA, obtained
from Haddow and Bar Works over $3.1 million in exchange for GATA-
AURA’s participation in this scheme. The payments were made, in
part, through wire transfers from a Bar Works bank account located
in New York, New York.

Statutory Allegations

 

27. From at least in or about September 2015 through at least
in or about June 2017, in the Southern District of New York and
elsewhere, SAVRATJ GATA-AURA, a/k/a “Sam Aura,” the defendant, and
others known and unknown, willfully and knowingly, did combine,
conspire, confederate, and agree together and with each other to
commit wire fraud, in violation of Title 18, United States Code,

Section 1343.

 

 
Case 1:18-cr-00759-JSR Document 40 Filed 05/23/19 Page 7 of 10

28. It was a part and object of the conspiracy that SAVRAJ
GATA-AURA, a/k/a “Sam Aura,” the defendant, and others known and
unknown, willfully and knowingly, having devised and intending
to devise a scheme and artifice to defraud, and for obtaining
money and property by means of false and fraudulent pretenses,
representations, and promises, would and did transmit and cause
to be transmitted by means of wire, radio, and television
communication in interstate and foreign commerce, writings,
signs, signals, pictures, and sounds for the purpose of
executing such scheme and artifice, in violation of Title 18,
United States Code, Section 1343.

(Title 18, United States Code, Section 1349.)

Count Two
(Wire Fraud)

The Grand Jury further charges:

29. The allegations contained in paragraphs 1 through 26
of this Indictment are repeated, realleged, and incorporated by
reference, as if fully set forth herein.

30. From at least in or about September 2015 through at
least in or about June 2017, in the Southern District of New
York and elsewhere, SAVRAJ GATA-AURA, a/k/a “Sam Aura,” the
defendant, willfully and knowingly, having devised and intending
to devise a scheme and artifice to defraud and for obtaining

money and property by means of false and fraudulent pretenses,

 
Case 1:18-cr-00759-JSR Document 40 Filed 05/23/19 Page 8 of 10

representations, and promises, transmitted and caused to be
transmitted by means of wire, radio, and television
communication in interstate and foreign commerce, writings,
signs, signals, pictures, and sounds for the purpose of
executing such scheme and artifice, to wit, GATA-AURA engaged in
a scheme to defraud investors by soliciting funds for
investments in Bar Works Inc. and related entities through
material misrepresentations, which scheme involved the use of
wires.
(Title 18, United States Code, Sections 1343 and 2.)
FORFEITURE ALLEGATION

31. As a result of committing one or both of the offenses
alleged in Count One and Count Two of this Indictment, SAVRAJ GATA-
AURA, a/k/a “Sam Aura,” the defendant, shall forfeit to the United
States, pursuant to Title 18, United States Code, Section
981 (a) (1) (C) and Title 28, United States Code, Section 2461(e),
any and all property, real or personal, which constitutes or is
derived from, proceeds traceable to the commission of said
offenses, including but not limited to a sum of money in United
States currency representing the amount of proceeds traceable to
the commission of said offenses.

Substitute Assets Provision

 

32. If any of the above-described forfeitable property, as

a result of any act or omission of the defendant:

 

 
Case 1:18-cr-00759-JSR Document 40 Filed 05/23/19 Page 9 of 10 |

 

a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or deposited with,

a third person;

Cc. has been placed beyond the jurisdiction of the
Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which

cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to 21 U.S.C. § 853

and 28 U.S.C. § 2461, to seek forfeiture of any other property of

said defendant up to the value of the above forfeitable property.
(Title 18, United States Code, Section 981,

Title 21, United States Code, Section 853, and
Title 28, United States Code, Section 2461.)

 

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FOREPERSON <> GEOFFREY S$. BERMAN
/ United States Attorney
Case 1:18-cr-00759-JSR Document 40 Filed 05/23/19 Page 10 of 10

Form No. USA-33s-274 (Ed. 9-25-58)

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
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SAVRAJ GATA-AURA,
a/k/a “Sam Aura,”

Defendant.

 

SUPERSEDING INDICTMENT
S118 Cr. 759
(18 U.S.C. §§ 1343, 1349, and 2.)

GEOFFREY S. BERMAN
United States Attorney

   

Foreperson

 

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